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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,
                                                       Case No. 08-20103
v.
                                                       Hon. Victoria A. Roberts
D-2 OMAR MACKIE,

     Defendant.
_____________________________________________________________________

         ORDER FOR PSYCHIATRIC OR PSYCHOLOGICAL EXAMINATION

      The Court, on its own Motion, finds there is reasonable cause to believe that

Defendant OMAR MACKIE suffers from a mental disease or defect which may affect the

sentence the Court should impose. Accordingly, pursuant to the Insanity Defense

Reform Act of 1984, 18 U.S.C. §§ 4241- 4247, it is Ordered that:

      1. Defendant is committed to the custody of the Attorney General for a

psychiatric or psychological evaluation for a period not to exceed 30 days pursuant to

18 U.S.C. § 4247(b). The director of the facility performing the examination may apply

for a reasonable extension of time, upon a showing of good cause that the additional

time is necessary to observe and evaluate the defendant.

      2. While the Court is mindful that the evaluation is to be conducted at the closest

Federal Correctional Medical Institute, pursuant to 18 U.S.C. §§ 3552(b) and 4247(b),

the Court recommends the Federal Medical Center in Rochester, Minnesota.

      3. The examining psychiatrist or psychologist will prepare, as soon as practical,

pursuant to 18 U.S.C. § 4247(c), a written report that includes: (1) the defendant’s
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history and present symptoms; (2) description of the psychiatric, psychological, and

medical tests that were employed and their results; (3) the examiner’s findings; (4) the

examiner’s opinions concerning how Defendant’s mental condition should affect the

sentence; and (5) any other matters the examiner believes are pertinent to the factors

set forth in 18 U.S.C. § 3553(a).

       4. The examiner must promptly file the written report with the Court and provide

copies to defense counsel and the attorney for the Government.

       IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: October 28, 2008

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 October 28, 2008.

 s/Carol A. Pinegar
 Deputy Clerk
